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                        UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                     OFFICE OF THE CLERK

   David A. O’Toole                                                              211 West Ferguson
    Clerk of Clerk                                                                Tyler, TX 75702



                                        October 12th, 2021



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                              In re: Olivistar LLC. v. Exxon Mobil Corporation
                                      2:15-cv-410

Dear Counsel and Parties,
      I have been contacted by Judge Rodney Gilstrap who presided over the above-
mentioned case.

        Judge Gilstrap informed me that it has been brought to his attention that while he
presided over the case, he owned stock in Exxon Mobil Corporation. His ownership of stock
neither affected nor impacted his decisions in this case. In fact, this case was voluntarily
dismissed by Plaintiff prior to any action being taken by Judge Gilstrap on June 16, 2015.
However, his stock ownership would have required recusal under the Code of Conduct for United
States Judges, and thus, Judge Gilstrap has directed that I notify the parties of the conflict.

       Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
provides the following guidance for addressing disqualification that is not discovered until after
a judge has participated in a case:
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[A] judge should disclose to the parties the facts bearing on disqualification as
soon as those facts are learned, even though that may occur after entry of the
decision. The parties may then determine what relief they may seek and a court
(without the disqualified judge) will decide the legal consequence, if any, arising
from the participation of the disqualified judge in the entered decision.

       Although Advisory Opinion 71 contemplated disqualification after a Court of
Appeals oral argument, the Committee explained “[s]imilar considerations would apply when
a judgment was entered in a district court by a judge and it is later learned that the judge was
disqualified.”

       With Advisory Opinion 71 in mind, you are invited to respond to Judge Gilstrap’s
disclosure of a conflict in this case. Should you wish to respond, please submit your response
on or before thirty (30) days from this date. Any response will be considered by another judge
of this court without the participation of Judge Gilstrap.

                                       Sincerely,



                                       _______________________________________
                                       David O’Toole
                                       Clerk of Court
